               Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 1 of 24 PageID# 2655
JS 44 (Rev. l0/20)                                                      CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service Of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEL•'INSTRUC'/'/ONSONNLiX'fYAGI~ 01- "!'HIS[~nRA~L)
L (a) PLAINTIFFS                                                                                          DEFENDANTS
          DAVID P. DONOVAN                                                                                BETH A. WILKINSON
    (b) County of Residence of First Listed Plaintiff     Fairfax                                         County of Residence of First Listed Defendant Washington, DC
                          (L'XCN'Pl' IN U.S. PLAINTIFl~' CASGS)                                                                  (!N U.S PI~ALNTZFF CASES ONLY)
                                                                                                          NOTE: [N LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  THE TRACT OF LAND INVOLVED.

    ~C~ Attol'neys (firm Nanve, Address, and Telephone Numher)                                             Attorneys (/fKnnwn)
          Cathy A. Hinger, Womble Bond Dickinson (US) LLP
          1200 19th Street, NW, Suite 500, Washington, DC 20036,
          202-857-4489                                        0
IL BASIS OF JURISDICTION (~~lace an "x^ rn One Rox only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "x" in one eox,fa~ Pla~n~~)/~
                                                                                                      (Fnr Diversity Cases Only)                                    and One Box,Ji~r DefendanQ
       U.S. Government              ~3     Federal Question                                                                    PTF        DEF                                          PTF     DEF
          Plaintiff                          ((I.S. Governmen! Nol a Parly)                     Citizen of This State         ~X I        ~ 1      Incorporated or Principal Place      ~ 4 ~4
                                                                                                                                                     of Business In This State

    2 U.S. Government               ~X 4 Diversity                                              Citizen of Another State           ~2     ~X   2   Incorporated and Principal Place      ~ 5          ~5
         Defendant                         (Lndicate Citizenship gfPar!les' in Item l[/J                                                             of Business [n Another State

                                                                                                Citizen or Subject of a            ~3     ~ 3      Foreign Nation                        ~ 6          ~6
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             9 - T CT                                                                             FORFEITURElPENALT '                       BANKRUPTCY         _             OTHER STATUTES ~'
   1 l0 Insurance                     PERSONAL INJURY                 PERSONAL INJURY             G25 Drug Related Seizure               422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                         310 Airplane                 ❑ 365 Personal Injury -            of Property 2l USC 881             423 Withdrawal                    376 Qui Tam (3l USC
   130 Miller Act                     315 Airplane Product               Product Liability        690 Other                                  28 USC l57                        3729(a))
   l40 Negotiable Instrument               Liability               ~ 367 Health Care/                                                                                      400 State Reapportionment
   150 Recovery of Overpayment        320 Assault, Libel &               Pharmaceutical                                                    P TY RIGHTS                     4l0 Antitrust
        & Enforcement of Judgment          Slander                       Personal Injury                                               820 Copyrights                      430 Banks and Banking

B  I51 Medicare Act
   152 Recovery of Defaulted
         Student Loans
                                      330 Federal Employers'
                                           Liability
                                      340 Marine
                                                                         Product Liability
                                                                   ❑ 368 Asbestos Personal
                                                                         Injury Product
                                                                                                                                       830 Patent
                                                                                                                                       835 Patent -Abbreviated
                                                                                                                                           New Dn~g Application
                                                                                                                                                                           450 Commerce
                                                                                                                                                                           460 Deportation
                                                                                                                                                                           470 Racketeer Influenced and
        (Excludes Veterans)           345 Marine Product                  Liability                                                  ~ 840 Trademark                           Corrupt Organizations
   153 Recovery of Overpayment             Liability                PERSONAL PROPERTY              "' ....5. - ' B ... . .,_ _     _   880 Defend Trade Secrets            480 Consumer Credit
        of Veteran's Benefits         350 Motor Vehicle              370 Other Fraud               710 Fair Labor Standards                Act of 2016                         (15 USC 1681 or 1692)
   160 Stockholders' Suits            355 Motor Vehicle            B 371 Tnrth in Lending               Act                                                                485 Telephone Consumer
~X l90 OH~er Contract                     Product Liability        ~ 380 Other Personal            720 Labor/Management                                                         Protection Act

B  195 Contract Product Liability
   196 Franchise
                                      360 Other Personal
                                          Injury
                                      362 Personal Injury -
                                                                         Property Damage
                                                                   ~ 385 Property Damage
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                                                                                                   740 Railway Labor Act
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                                                                                                                                                                               Exchange
                                          Medical Malpractice                                           Leave Act                        8G4 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTI`                                                                             790 Other Labor Litigation            8G5 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation             440 Other Civil Rights          Habeas Corpus:               79l Employee Retirement                                                 893 Environmental Matters
    220 Foreclosure                   441 Voting                      463 Alien Detainee                Income Security Act                                                895 Freedom of [nfonnation
    230 Rent Lease &Ejectment         442 Employment                  S l0 Motions to Vacate                                        ~ 870 Taxes (U.S. Plaintiff                Act
    240 Torts to Land                 443 Housing/                         Sentence                                                        or Defendant)                   896 Arbitration
    245 Tort Product Liability            Accommodations              530 General                                                   ~ 871 [RS—Third Party                  899 Administrative Procedure
    290 All Other Real Property       445 Amer. w/Disabilities -      535 Death Penalty                   MIGRATION                        26 USC 7609                         Act/Review or Appeal of
                                          Employment                  Other:                       462 Naturalization Application                                              Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus &Other          465 Othec hnmigration                                                   950 Constitutionality of
                                          Other                       550 Civil Rights                 Actions                                                                 State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee
                                                                           Conditions of
                                                                           Confinement
V. UK1GIlV (Place an "X" in One Box Only)
Q 1 Original    ~2 Removed from                        ~ 3         Remanded from           ~ 4 Reinstated or       ~ 5 Transferred from            ~ 6 Multidistrict             ~ 8 Multidistrict
    Proceeding        State Court                                  Appellate Court             Reopened                Another District                Litigation -                  Litigation -
                                                                                                                       (spec~J                         Transfer                      Direct File
                                           e the U.S. Civil Statute under which you are 61ing (Do rrot cite jurisdictional stah~tes nnless diversity):
                                           U.S.C. § 1332
VI. CAUSE OF ACTION                           description of cause:
                                              dant knew of a valid contact between Plaintiff and third parties and intentionally interfered inducing/causing a breach, which damaged Plaintiff.
VII.    REQUESTED Ilv                  ❑ CHECK [F THIS IS A CLASS ACTION                           DEMAND $                                     CHECK YES only if demanded in complaint:
        COMPLAINT:                       CJNDER RULE 23, F.R.Cv.P.                                 At least $100,000, TF~                       JURY DEMAND:                 ❑Yes        ❑X No

VIII. RELATED CASES)
                                           (See instructions):
      IF ANY                                                        JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
11/9/2020
FOR OFFICE USE ONLY
    RECEIPT #                     AMOUNT                                  APPLYING IFP                                     JUDGE                           MAG. JUDGE
             Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 2 of 24 PageID# 2656
JS 44 Reverse (Rev. l0/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

I~,      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation —Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation —Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. [f there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 3 of 24 PageID# 2657




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                     (Alexandria Division)

  DAVID P. DONOVAN



                  Plaintiff,
                                                      Civil Action
         ►~

  BETH A. WILKINSON



                  Defendant.


       VERIFIED COMPLAINT FOR TEMPORARY RESTRAINING ORDER AND
                  PRELIMINARY AND INJUNCTIVE RELIEF

        Plaintiff David P. Donovan ("Donovan"), by and through his undersigned counsel,

 Womble Bond Dickinson (US) LLP, hereby files this Complaint for Temporary Restraining Order,

 and Preliminary and Injunctive Relief against Defendant Beth A. Wilkinson, Esq. ("Wilkinson").

                                     NATURE OF THE CASE

        1.       This action seeks to enjoin attorney Wilkinson from disseminating information that

 is the subject of a

                                          confidential information related thereto ("Confidential

 Information"). Wilkinson only obtained this                           t because it was delivered to

 her through privileged communications with her client, Pro-Football, Inc., d/b/a the Washington

 Football Team (formerly named the "Washington Redskins") (the "Team"). Donovan, the former

 general counsel of the Team,

               not to discuss it or any Confidential Information related to it. Wilkinson, who was

 retained by                                                         to investigate recent allegations
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 4 of 24 PageID# 2658




 of workplace misconduct                                                                 has demanded

 Donovan be interviewed                                          Confidential Information. Donovan

 has refused due to his                                                                and his attorney-

 client privilege obligations to            . In response, rather than acknowledge her wrongful

 position and retract her request, Wilkinson has threatened to include in her report to             that

 Donovan, who has a longstanding relationship with                     , is not cooperating, and is

 interfering with her investigation.

        2:        She has also intentionally induced at least one party to the

    breach                                 by speaking about the Confidential Information with

 Wilkinson. Wilkinson coerced this breach by falsely telling this party that

                             But Wilkinson, as a lawyer, must have known that

        even if granted —which it was not —would not be effective because

                                                                             Donovan never agreed to

                                                                         ; therefore, it is impossible

 for there to have been a valid and effective           . Wilkinson's representation that

                                                            false, misleading and intended to induce

 a breach

        3.        Wilkinson has also expressed that she intends to share

      Confidential Information with                                                 the report of her

 investigation after she completes her final witness interview this week.

                 reports                                          recently contacted

            s about some of the Confidential Information

 Wilkinson's plan to disclose to                                            and other information she




                                                   2
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 5 of 24 PageID# 2659




 obtained through violation of attorney-client privilege and fraudulent trickery of an unwary party

 is almost certain to land on the front page of the Washington Post. And, even though Wilkinson's

 original

              was a privileged communication and has demanded that



        4.        If Wilkinson is not enjoined, Donovan's professional reputation will be irreparably

 harmed. The                                                          , as well as his attorney-client

 obligations to             prohibit Donovan from responding, in any way, to anything Wilkinson

 reports concerning                                    his role in the events that led up to it. The

 dilemma in which Donovan finds himself is precisely the type of circumstance

                                        are designed to prevent, especially with respect to the types

 of high profile figures involved in this case.

        5.        As will be shown herein, and in the accompanying declarations, exhibits and

 motion for temporary and preliminary injunctive relief, Wilkinson's tortious interference

                            achieved by unethical and deceptive means, warrants entry of an

 immediate temporary restraining order prohibiting her from using the Confidential Information in

 her report                                              and ordering her to destroy and not use the

                              Confidential Information.     This relief is necessary to prevent the

 imminent and irreparable harm to Donovan's reputation and business relationship that is certain to

 follow Wilkinson's threatened unauthorized and improper release of this information. The balance

 of the interests here decidedly weighs in favor of Donovan, who is an innocent bystander in this

 conflict between Wilkinson and                           whose privilege she appears to be violating

 in her representation of her other client,            Wilkinson's likely argument that an injunction




                                                   3
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 6 of 24 PageID# 2660




 will interfere with or delay her investigation              is not a legitimate interest to consider,

 for it was her inexplicable abandonment of her duty of privilege to her original client,

 and her inducements of                             that landed her in this conflict, which it appears

 she can resolve only by withdrawing as counsel for

                                   JURISDICTION AND VENUE

        6.        This Court has subject matter jurisdiction to consider this matter pursuant to 28

 U.S.C. § 1332.

        7.        Venue is proper before this Court pursuant to 28 U.S.C. §§ 1391(b)(2).

        8.        Wilkinson is subject to personal jurisdiction in Virginia pursuant to VA Code Ann.

 § 8-01.328.1(A)(3) & (A)(4). Wilkinson regularly does business, solicits business and engages in

 a persistent course of conduct in Virginia with respect to her practice of law, including

 representation of numerous clients in Virginia courts.

                                              PARTIES

        9.        Plaintiff Donovan is a citizen and resident of the Commonwealth of Virginia.

 Donovan enjoyed a long and successful career as a litigation partner with the law firm of

 WilmerHale, as well as serving as the general counsel for the Team from 2005 to 2011. (See

 generally Ex. 1, Donovan Dec. ~[9[ 2-22.) Plaintiff retired from private practice at the end of 2018.

        10.       Defendant Wilkinson is a citizen and resident of the District of Columbia.

 Wilkinson is also a prominent lawyer in Washington D.C. who is a named partner in the firm of

 Wilkinson Stekloff, until recently known as Wilkinson Walsh.

                                     STATEMENT OF FACTS

               The                 And

         11.

 reported an alleged incident


                                                  C!
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 7 of 24 PageID# 2661




                           to Donovan. Donovan retained outside counsel from WilmerHale, and

 worked with them to thoroughly investigate                  Donovan drafted a report documenting

 the factual findings of the investigation and conclusions                                   was highly

 confidential, both to                                         . (Id., 9[9[ 23-25.)

        12.     Following a series of communications and interactions between




        13.     The                                                                         investigation

                         were maintained with the utmost confidentiality, and upon expiration of

                                                             those documents          to Norman Chirite

 ("Chirite"), who served as



        14.



                Donovan is                                                      and he is

                            He is also                                                (Ex. 1, y[ 27 & Ex.

 G~
        15.                                   contains

                                               disclosure of any Confidential Information




                                                  5
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 8 of 24 PageID# 2662




                         are governed by Virginia law.

         16.     Donovan strictly complied with the

                                                                  ,

                                                                                                . He

 declined to speak to                                                                   . (Id., 9[9[ 30-

 32.)

                                 Wilkinson's Retention By The Team

         17.     Upon information and belief, the Team retained Wilkinson — a sophisticated

 attorney with experience in handling internal investigations — as legal counsel on or about July 16,

 2020, for the purpose of conducting a privileged and confidential internal investigation and to

 provide legal advice to the Team regarding recently alleged workplace culture problems and acts

 of misconduct at the Team, including the allegations of sexual harassment referenced in an

 investigation by the Washington Post.

         Wilkinson Learned About                                                        Through
                         Privileged Communication With

         18.                       Donovan, Chirite               spoke to Wilkinson.

               told Wilkinson



        Donovan told Wilkinson about                                      . (Id., 91 37.) Chirite told

 Wilkinson this information

                                                                                               Chirite

 also shared information                                              The information was shared




                                                  C~
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 9 of 24 PageID# 2663




          19.                         Chirite                a copy

 some related documents to Wilkinson                                                              (Id., 91

 5; see also Ex. 1 at 9[ 39.)

          20.                           Chirite spoke to Wilkinson again after she

                                Confidential Information. She expressly confirmed to Chirite

                                                                              Confidential Information

                                                                                                  (Ex. 2,

 9C ~•)

          21.                                   received an email from Wilkinson's firm stating that

          confirmed that all individuals were released from confidentiality obligations in order to

 speak with the Wilkinson firm as part of its investigation.




                                                                   her as a privileged document. The

 Wilkinson firm's email was                             contacted Wilkinson               (Id.)

          22.                        Chirite spoke to Wilkinson

                                                   sharing certain Confidential Information for the

 investigation,

                                                   (Id. y[ 8.) Wilkinson replied, "




                                                    7
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 10 of 24 PageID# 2664




                                  Wilkinson's Retention By The NFL

         23.      Upon information and belief, in September 2020, the Team agreed with the NFL

  that Wilkinson would be retained separately by the NFL and continue her investigation under the

  oversight of the NFL, while also maintaining her attorney-client relationship with the Team.




                              Donovan Declines Wilkinson's Demand
                For An Interview

         24.      On October 8, 2020, Wilkinson called Donovan to attempt to interview him about

                                               . (Ex. 1, y[y[ 42-44.)

         25.      Donovan understood from published reports that

          investigation and retained Wilkinson to conduct the investigation and          report to t

      . Donovan told Wilkinson

                                                                              Wilkinson contended

                                        Donovan strongly disagreed. (Id., 9[y[ 45-46.)

          26.     Donovan also told Wilkinson




  and Donovan was also concerned about potential civil claims. Wilkinson claimed




  confidential matters. (Id., 9[9[ 47-49.)
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 11 of 24 PageID# 2665




          27.     Wilkinson continued to pursue an interview of Donovan by sending him proposed

  (unsigned) draft



          28.      Donovan retained counsel to deal with Wilkinson on these issues. Donovan's

  counsel sent Wilkinson a letter on                          explaining the grounds for Donovan's

  inability to sit for an interview regarding

                       privilege and confidentiality



                  (Id., y[9[ 51-54 & Ex. D.)

          29.     Wilkinson responded with an accusation that Donovan was being uncooperative

  and a threat to report that to         with which Donovan has a longstanding positive professional

  relationship. She also claimed, inaccurately, that                had agreed she could speak with

  Donovan about this issue

  have denied Wilkinson's assertion                        privilege and confidentiality

                                        and Wilkinson has provided no evidence backing up her claim.

          30.        Donovan's counsel responded with another letter requesting production of

  evidence of these alleged waivers of privilege and the confidentiality

                            Wilkinson has never produced

                                                                  Id., 9[9[ 60-65 & Ex. F.)

      Wilkinson's                                                    And Refusal To Follow


          31.      Unbeknownst to Donovan at the time of his                      ommunications with

  Wilkinson, on or about                          Wilkinson approached the




                                                       E
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 12 of 24 PageID# 2666




         32.       In order to induce                                        Wilkinson, expressly acting

  as

                              by falsely representing to                              that disclosure was

  permissible and would not breach                                  , on the asserted grounds that

                   had released                                                         . (Ex. 3-1 at Ex.

  1.)

         33.       Wilkinson knew that



                                                           (Ex. 1 at Ex. A, § 21(D).) Donovan has never

                                                                                                          .

  Therefore, even if a                               by             which would be plainly inadequate,

  that would not be sufficient                                                                       unless

                                                                                               which has

  never happened. Therefore, this misrepresentation by                                                 was

  false, inaccurate and ineffective. As a consequence of her misrepresentation, however, Wilkinson

  succeeded

  because                         lawyer, relying on Wilkinson's representations, produced

                      apparently counseled that



                            (Ex. 3-1 at Ex. 1.)

         34.       Donovan understands that, based upon Wilkinson's misrepresentations, the

                                                                          with Wilkinson in an interview,

  thus violating




                                                      10
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 13 of 24 PageID# 2667




  strictly confidential. Wilkinson's interview with                          appears to have taken place

  several days after Wilkinson's initial outreach on

         35.      When                learned of this,      wrote a letter to Wilkinson




                                                    also demanded that she destroy all such documents

  and information                                          disclosing such documents and information

                           (See generally Ex. 3-1.)                           also pointed out



                              without which her statements

                                                                                                     (Id.)

         36.      After Wilkinson's flagrant misconduct in inducing

                                                            came to light, Wilkinson refused to concede

  wrongdoing or destroy the information obtained from                            or her misused copies



         37.      Wilkinson responded to                   letter with her own letter accusing

  trying to interfere with her investigation                  and contending that                had waived

  privilege and confidentiality                                                              (See generally

  Ex. 3-2.) Her letter denies ever having any limitations imposed on her use of the

               , despite Chirite's clear statement that                                                 the

  investigation                              Wilkinson also admitted that she told

  counsel, in writing, that          had waived and released                      from any              Id.)

  Wilkinson's only response to inducing




                                                      11
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 14 of 24 PageID# 2668




                                                                        was to blame

         for concluding that Wilkinson's representation about                                was sufficient.

  In other words, Wilkinson had

  rendering her representations                                               her representation that



         38.      Wilkinson's                letter also advised that she fully intended to use the

  information she obtained                          in her written report

                           Imminent and Irreparable Harm To Donovan

         39.      Wilkinson's letter firmly asserts she will not cease investigating

      intends to use the Confidential Information she has learned

                                  report

         40.      Wilkinson has requested an interview of

       and has advised

  Upon information and belief, Wilkinson will submit her report                        within as little as

  twenty-four hours following

         41.      The NFL has repeatedly publicly announced and disclosed written reports on

  matters of public interest in the last several years. See, e.g., Gregg Rosenthal, Wells Report

  released     on footballs     used   in   AFC   title,   AROUND       THE   NFL      (May     6,   2015),

  https://www.nfl.com/news/wells-report-released-on-footballs-used-in-afc-title-

  Oap3000000491385 (last visited Nov. 8, 2020); Robert Mueller releases report on Rice

  investigation, AROUND THE NFL (Jan. 8, 2015), https://www.nfl.com/news/robert-mueller-

  releases-report-on-rice-investigation-Oap3000000455483        (last     visited     Nov.     8,    2020).

  Consequently, if and when Wilkinson furnishes a written report                    it can be assumed that




                                                   12
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 15 of 24 PageID# 2669




                         the report publicly available shortly thereafter, including the Confidential

  Information Wilkinson wrongfully elicited                                 , and the privileged and

  confidential information she obtained from               and         in her role as legal counsel to

         thus vastly escalating the consequences of Wilkinson's wrongdoing and inflicting profound

  damage on all parties

         42.       The Washington Post has already published two articles about the matters

  Wilkinson was originally retained by                to investigate. The recent

                                        is further evidence that at a minimum, the Washington Post will

  prominently publicize any information about Donovan                                   may be revealed

                    report.

         43.                            and counsel are presently operating under the false impression

  that they               information                            and Wilkinson's                    letter

  to                      states that

               which indicates that                                   have discussed

                                                           Confidential Information

         44.       And, by some unknown means,



         45.       Having not interviewed Donovan about these matters, Wilkinson's portrayal of

  Donovan's role in                investigation                               is likely to be adverse,

  negative, disparaging and harmful to his reputation. Donovan has no means of curing or rebutting

  the imminent harm Wilkinson is threatening to his reputation by disclosing this highly confidential

  information, because Donovan is prohibited by attorney-client privilege and




                                                      13
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 16 of 24 PageID# 2670




           The                                                                   , so the likelihood that

                     told Wilkinson disparaging, false or negative things about or related to him,

  which Donovan would successfully dispute and could disprove

                         high to almost certain.

         46.      An injunction is the only measure that can prevent the imminent irreparable harm

  to Donovan that will result from Wilkinson's intentional interference with



                                              COUNTI
                                (Tortious Interference with Contract)

         47.      Mr. Donovan re-alleges and incorporates by reference all of the allegations

  contained in the preceding paragraphs as if fully alleged and set forth herein.

         48.

                                                                                             all parties,

               the parties'

         49.      Moreover, the parties have scrupulously

                                       has ever suggested

                      nor has Wilkinson.

         50.      Wilkinson was fully aware of the                                          having been

  informed of its existence                        and provided with a copy of      by Chirite



         S1.      Upon information and belief, Wilkinson further demonstrated her subjective

  awareness of the                             by specifically addressing                             in

  her discussions with                     .




                                                      14
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 17 of 24 PageID# 2671




         52.        Wilkinson intentionally and fraudulently induced

                           by representing                                          could validly and

  permissibly disclose information

               on the claimed grounds that                          had validly waived



         53.        Donovan

  confidentiality



  confidentiality



         54.        Wilkinson knew that her representations and assurances to the               were

  false, because she was aware that

                                                  confidentiality



  confidentiality.

         55.        Wilkinson's tortious actions occurred outside the scope of her authorized

  representation                and she used improper means, namely fraudulent misrepresentations,

  to carry them out.

         56.        As a direct and proximate result of Wilkinson's misrepresentations

                                                                             disclosing Confidential

  Information

                                       Wilkinson interfered with                              for the

  purpose of causing




                                                   15
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 18 of 24 PageID# 2672




         57.     Upon information and belief, Wilkinson acted with deliberate bad faith and

  malicious intent in inducing

         58.     As a result of Wilkinson's conduct in inducing

                           Donovan has and is experiencing harm to his reputation and business

  relationships, and will imminently experience irreparable reputational harm that exceeds $75,000

  in value, and as a result hereby seeks relief including:

         (i) an Order from this Court

                 (a) enjoining and restraining Wilkinson and all of her agents, employees, partners,

                 other affiliates, and any other persons or entities acting or purporting to act on her

                 behalf, under her authority, or in coordination with her, from any disclosure or

                 discussion                                                underlying subject matter, or

                 any other information designated as confidential                   to any third party,

                 including but not limited to             or the media;

                 (b) enjoining and restraining Wilkinson and all of her agents, employees, partners,

                 other affiliates, and any other persons or entities acting or purporting to act on her

                 behalf, under her authority, or in coordination with her, from further interference

                 with                             ; and

                 (c) directing Wilkinson to certify under penalty of perjury, on or before a date to be

                 set by the Court, that she has destroyed all paper, digital, and other files and

                 documents, in whatever format they may exist, containing information designated

                 as confidential                                     and




                                                   16
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 19 of 24 PageID# 2673




          (ii) any other relief the Court may deem just and proper, including an award of

          compensatory damages arising from Wilkinson's tortious conduct, the quantum of which

          is difficult to ascertain at this stage but shall be ascertained at trial.

                                               COUNT II
                                         (Declaratory Judgment)

          59.     Donovan re-alleges and incorporates by reference all of the allegations contained

  in the preceding paragraphs as if fully alleged and set forth herein.

          60.     An actual controversy and dispute has arisen and exists between Donovan and

  Wilkinson regarding Wilkinson's tortious interference with



          61.     Donovan is informed and believes, and on that basis alleges, that Wilkinson

  believes she is entitled to disclose information she obtained as legal counsel to                  , and

  information otherwise designated as confidential

          62.     As a result of Wilkinson's misconduct, Donovan has suffered harm, and if

  Wilkinson is allowed to carry through with her significant further threatened misconduct, Donovan

  will suffer irreparable harm and damage, in that the wrongs that will be caused by Wilkinson are

  of a continuing character, and will expose Donovan to ongoing harm.

          63.     As a result of Wilkinson's misconduct, Donovan has sustained and will continue to

  sustain actual damages that are difficult to ascertain or calculate with certainty at this time, but will

  be proven at trial.

          64.     Donovan does not have an adequate remedy at law for the injuries which he has

  suffered and will continue to suffer in the future unless Wilkinson's wrongful conduct is stopped.

          65.     Donovan therefore seeks a judicial declaration from this Court that (i) the

                                                                                            are valid and



                                                      17
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 20 of 24 PageID# 2674




  enforceable; (ii) any disclosure of information or material designated as confidential



                               is and shall be prohibited; and (iii) Wilkinson may not assist in, solicit, or

  cause the breach of, or in any other manner interfere with, the rights and obligations



                                            COUNT III
                      (Temporary, Preliminary and Permanent Injunctive Relied

           66.      Mr. Donovan re-alleges and incorporates by reference all of the allegations

  contained in the pc•eceding paragraphs as if fully alleged and set forth herein.

           67.      Wilkinson tortiously interfered with the



                                                              disclosure of Confidential Information to

  Wilkinson

           68.      Wilkinson has refused to assure Donovan that she will refrain from disclosing any

  Confidential Information

                               to any third party, including as part of a report or written findings

           To the contrary, Wilkinson has continued to pursue additional disclosure of Confidential

  Information, and has (i) expressly refused to refrain from further interference

                 and (ii) confirmed that she will disclose Confidential Information                  via her

  written report of her investigation

           69.      Further,             will, presumptively, further publish Wilkinson's written report

  and findings to the public, as it has done with several other high-profile investigations in recent

  years.
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 21 of 24 PageID# 2675




         70.     Therefore, unless injunctive relief is granted barring Wilkinson's further misuse

  and disclosure of Confidential Information, Donovan will suffer profound and irreparable harm,

  including but not limited to the lost value of unique and sensitive Confidential Information, harm

  to business relationships and opportunities, lost goodwill and reputational harm.

         71.     Mr. Donovan is therefore entitled to injunctive relief (i) barring Wilkinson and all

  of her agents, employees, partners, other affiliates, and any other persons or entities acting or

  purporting to act on her behalf, under her authority, or in coordination with her, from any

  disclosure or discussion                                                underlying subject matter, or

  any other information designated as confidential                to any third party, including but not

  limited to          or the media; (ii) barring Wilkinson and all of her agents, employees, partners,

  other affiliates, and any other persons or entities acting or purporting to act on her behalf, under

  her authority, or in coordination with her, from further interference

  and (iii) directing Wilkinson to certify under penalty of perjury, on or before a date to be set by

  the Court, that she has destroyed all paper, digital, and other files and documents, in whatever

  format they may exist, containing information designated as confidential



         WHEREFORE, for all of the foregoing reasons, Donovan respectfully requests that the

  Court enter judgment in favor of Donovan and against Wilkinson as follows:

         (1)     As to Counts I-III above, imposing a temporary, preliminary and permanent

                 injunction on Wilkinson that (i) bars Wilkinson and all of her agents, employees,

                 partners, other affiliates, and any other persons or entities acting or purporting to

                 act on her behalf, under her authority, or in coordination with her, from any

                 disclosure or discussion                                                   underlying




                                                    19
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 22 of 24 PageID# 2676




              subject matter,               information designated as confidential                  to

              any third party, including but not limited to                 or the media; (ii) bars

              Wilkinson and all of her agents, employees, partners, other affiliates, and any other

              persons or entities acting or purporting to act on her behalf, under her authority, or

              in coordination with her, from further interference with the                           ;

              and (iii) directs Wilkinson to certify under penalty of perjury on or before a date to

              be set by the Court that she has destroyed all paper, digital, and other files and

              documents, in whatever format they may exist, containing information designated

              as confidential

        (2)   As to Count I above, awarding compensatory damages for Wilkinson's tortious

              interference with                               , the amount of which is difficult to

              ascertain at this stage but shall be proven at trial, and in no event shall be less than

              $100,000; and

        (3)   As to Count II above, declaring and adjudging that

              valid and enforceable,



        (4)   As to Counts I-III above, awarding Donovan his reasonable legal fees and costs

              incurred in bringing the instant action; and




                                                20
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 23 of 24 PageID# 2677




        (5)   Granting Donovan such other and further relief as the Court may deem just and

              appropriate under the circumstances.

  Dated: November 9, 2020                  Respectfully submitted,



                                               /s/ Cathy A. Hiner
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                                           Lela M. Ames (VSB No. 75932)
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                                           Counsel for Plaintiff




                                             21
Case 1:20-cv-01344-AJT-IDD Document 232 Filed 09/07/21 Page 24 of 24 PageID# 2678




                                         VERIFICATION

        I, David P. Donovan, do hereby certify that I have reviewed the foregoing Verified

 Complaint. The facts contained in the foregoing Verified Complaint are true and correct to the

 best of my personal knowledge, information, and belief. I am aware that should any of the

 foregoing facts be willfully false, I am subject to punishment.


 Dated: November 8, 2020
